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                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     March 2, 2021

Via ECF
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007

       Re:     United States v. Geovanny Fuentes-Ramirez,
               S6 15 Cr. 379 (PKC)

Dear Judge Castel:

        The Government respectfully submits this letter in support of additional motions in limine
to admit recently seized evidence obtained from electronic accounts belonging to
           (“CC-14”),                             , including: (i) photographs of CC-14 with CC-
4, the defendant in a bullet proof vest and Honduran military beret, and CC-3 and CC-4;
(ii) photographs of firearms, including machineguns, ammunition, and large quantities of U.S.
currency; and (iii) electronic communications of CC-14 with, among others, CC-3, during which
they discuss the defendant, other co-conspirators, firearms, and the defendant’s bodyguards.1

                                        BACKGROUND

        On January 13, 2021, after the Government filed its January 8, 2021 motions in limine, the
Government obtained emails sent and received by the defendant from prison, including numerous
emails between the defendant and CC-14, using his iCloud email account (the “iCloud Account”).
On January 14, 2021, the Government produced those emails to the defendant and later described
the prison emails that it intends to introduce at trial in the Government’s reply in further support
of its motions in limine. (Dkt. 242 at 7-9, 23-24). In those emails, the defendant and CC-14
discussed, among other things, obtaining non-public information from Honduran law enforcement,
including CC-3 and another official named “Salgado”; the Laboratory; and Victim-1, who the
defendant murdered. The defendant also disclosed to CC-14 information about the murder of
Victim-1 that was not then known by the Government, including that Victim-1 had been “half
buried in Choloma,” and CC-14’s responses reflected his personal knowledge of Victim-1’s
murder and the Laboratory. On January 19, 2021, cooperating witness Javier Rivera Maradiaga
provided the Government, through counsel, with a series of photographs and videos posted by CC-

1
 This memorandum uses the same defined terms and naming conventions as set forth in the
Government’s motions in limine.
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14 on his Instagram account (the “Instagram Account”), and on January 21, those materials were
produced to the defendant as part of Javier Rivera’s 3500 material. The posts included, among
other things, photographs of firearms, including handguns and machineguns; bulk quantities of
U.S. currency; and a remote area of Choloma, Honduras.

        Based on the foregoing, on January 25, 2021, the Government obtained search warrants for
CC-14’s iCloud and Instagram Accounts, and the next day, the Government produced the warrants
and supporting affidavit to the defendant. On February 12 and 16, Facebook and Apple,
respectively, provided access to materials responsive to the warrants, much of which is in Spanish,
and the Government produced those materials to the defendant. Based on its review of the
accounts, the Government has identified substantial evidence of CC-14’s involvement in the
charged crimes that is admissible against the defendant.

        Similar to the defendant, CC-14’s accounts reflect that he maintained contact information
for numerous co-conspirators, including at least a dozen law enforcement or military officials, as
well as Owner-1 and Owner-1’s family. CC-14’s contacts, which the Government intends to offer
as evidence at trial, include, among others:

       (i)     CC-3. The defendant communicated with CC-3 about deleting evidence and codes
               to check whether the defendant’s phone was being intercepted. (Dkt. 250 at 5 &
               id. Ex. B at 3-4). CC-14 maintained the same codes provided by CC-3 to the
               defendant as a note in CC-14’s iCloud account. CC-14 also communicated with
               CC-3, as described below, about the defendant’s bodyguards. The Government
               expects witnesses will testify at trial that CC-3 provided the defendant with
               sensitive law enforcement information in connection with his drug-trafficking
               activities.

       (ii)    Lieutenant Colonel Salgado. CC-14 represented in prison emails, which the
               Government intends to introduce at trial, that CC-14 contacted “Salgado” to obtain
               law enforcement information about Victim-1 and the Laboratory. Salgado’s
               number in CC-14’s iCloud Account is the same number that is saved as the contact
               for the military official “Comanche” in the defendant’s Cellphone-1. As described
               in the Government’s motions in limine, the Government intends to introduce at trial
               chats between the defendant and Comanche about, among other things, military
               support provided to the defendant and the defendant’s co-conspirators.

       (iii)   Four members of the Sauceda family. The Sauceda family includes law
               enforcement officials who protected the defendant. CC-14 identified his Sauceda
               contacts as law enforcement officials in the iCloud Account.

        CC-14 also maintained photographs, depicted below, reflecting the defendant and CC-14’s
close relationship with their co-conspirators and law enforcement, including photographs of (i) the
defendant in a bulletproof vest and Honduran military beret; (ii) the defendant and CC-14, with
CC-14 wearing a Honduran National Police hat; (iii) CC-14 with CC-4, who the defendant referred
to as “Juancho” in chats on his iCloud Account; and (iv) CC-3 and CC-4.
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   The Defendant                                        CC-14 and the Defendant




   CC-4 and CC-14                                       CC-4 and CC-3 (blue military uniform)




      Also like the defendant, CC-14 maintained numerous photographs of firearms, including
machineguns; extended magazines and tactical military vests; and bulk quantities of U.S. currency.
Some examples include:
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         Witnesses are expected to testify that the firearms and extended magazines depicted above
are the same types of weaponry the defendant and other co-conspirators used to transport huge
quantities of cocaine and engage in acts of violence. For example, Leonel Rivera is expected to
testify that the weapon circled in the top left photograph is a mini AR-15 with a large-capacity
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magazine that drug traffickers referred to as “chiche.” Witnesses are expected to testify that the
defendant often possessed such a weapon, as well as the other Glock handguns with extended
magazines depicted in the same photograph. CC-14 and the defendant also appear to have used
the same type of firearm. The photograph on the left below, which was posted by CC-14 on his
Instagram Account with the translated caption “ARMOR AT FIRST SIGHT [smiling face emoji]”
depicts a firearm that appears identical to one the defendant maintained a photograph of him
holding on Cellphone-1, which is also depicted below.

Photograph from CC-14’s iCloud Account              Photograph from the Defendant’s Cellphone




        CC-14’s accounts also contained several photographs of Tony Montana, the fictional drug
lord and violent criminal from the movie Scarface. For example, CC-14 posted a photograph on
his Instagram Account of 30-round capacity magazines, which appear to be compatible with the
large-capacity magazine (“chiche”) referenced above, in a package with Tony Montana’s picture
and one of his quotes from the movie: “All I have in this world is my balls and my word and I
don’t break them for no one.” The defendant’s Cellphone-1 includes a picture of Tony Montana
as CC-14’s contact profile picture.
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Photogram of Scarface Ammunition                      CC-14 Contact Picture on Cellphone-1




         Like the defendant, CC-14 also exchanged text messages and voice notes, using the
WhatsApp encrypted messaging application, with CC-3 and others about his criminal activities.
For example, in April 2015, CC-3 texted CC-14 that it was “dangerous” for a relative (“Relative-
1”) to return to Honduras because the defendant is “capable of anything” and, later, that three of
the defendant’s “bodyguards” who had “worked” for the defendant had been killed in the Cortes
Department. In November 2015, CC-14 exchanged messages with individuals about possessing
AK-47s and AR-15s, which CC-14 said were only allowed in “private meetings” and were
“prohibited . . . in Honduras” because they caused “too many deaths.” After the Government filed
its initial motions in limine on January 8, 2011, CC-14 exchanged messages with another
individual in which CC-14 (i) stated that “all of [the defendant’s co-conspirators] are there” in the
motion, including CC-7, who CC-14 referred to by his first name, and CC-4, who CC-14 referred
to as “Juancho”; and (ii) discussed transferring hundreds of thousands of dollars using money
remittance services, having “fucked up” by not providing those services a legitimate explanation
for the source of the funds, and providing false explanations for the source of the funds. Those
chats are described in additional detail below.
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I.          PHOTOGRAPHS OF CO-CONSPIRATORS AND THE DEFENDANT FROM CC-
            14’s ELECTRONIC ACCOUNTS ARE ADMISSIBLE AT TRIAL

             Photographs of the defendant and his co-conspirators, including CC-14, who the defendant
     contacted from prison to obtain information about Victim-1 and his drug-trafficking Laboratory,
     are admissible as direct evidence of the charged crimes. Photographs of the defendant in a
     bulletproof vest with handcuffs and a Honduran military beret, and CC-14 in a Honduran National
     Police hat, are relevant and admissible to show the defendant’s significant connections with
     Honduran military and law enforcement officials, which witnesses will explain the defendant used
     to commit his drug-trafficking and weapons offenses. (Gov’t MILs at 42-43). Similarly,
     photographs of CC-4 with CC-14 and CC-3 are admissible to show the close relationships between
     CC-4 and his co-conspirators, including the defendant. See, e.g., United States v. Alston, No. S3
     15 CR 435 (CM), 2016 WL 5806790, at *8 (S.D.N.Y. Sept. 27, 2016) (rejecting motion to exclude
     evidence of the defendant with his co-conspirators even where the photographs themselves did not
     depict criminal activity). Moreover, the picture of CC-4 and CC-14 depicted above is only one
     half of that photograph. The defendant maintained the other half on Cellphone-1, which depicts
     CC-4 with the defendant’s             . The defendant and CC-14’s                       photographs
     with CC-4 are further evidence of the defendant’s connections with a significant and powerful co-
     conspirator, CC-4, as well as other influential public officials, all of which witnesses will explain
     the defendant corruptly used to protect and promote his drug-trafficking offenses.

     Photograph of CC-4 From Cellphone-1               Photograph of CC-4 with CC-14 From the iCloud
                                                       Account
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respectively. As described below, each of those chats is relevant and admissible under the hearsay
rules.

       A.       CC-14’s Chats About the Defendant’s Dangerousness and Bodyguards Are
                Admissible

        In 2015, CC-14 and CC-3 exchanged communications reflecting CC-14 and the
defendant’s close relationship with CC-3. For example, in communications in April 2015, CC-3
said he was in contact with the defendant, that the defendant was angry with CC-14, and that CC-
14 should send the defendant a message explaining CC-14’s conduct. CC-14 also told CC-3 that
he would be returning to Honduras from the United States, and CC-3 responded that CC-14 should
tell Relative-1 “not to come. It’s dangerous. Mr. Geovanny is so angry with [Relative-1].” CC-
14 responded that Relative-1 would not return with him but might have to return to Honduras soon,
to which CC-3 stated, “It’s best if Geovanny doesn’t know that [Relative-1] is coming, you know
          is capable of anything, he has this hatred for [Relative-1], it’s best to be careful.”

      Later, on April 3, 2015, the following exchange occurred concerning the defendant’s
bodyguards who had been murdered in the Cortes Department:

       CC-3:       Did you know the 3 that were killed in Cortes in a white truck? In a Chevrolet
                   tahoo [sic].

       CC-14:      Not really. Why?

       CC-3:       Because they were saying that they were              bodyguards. The 3 of them.

       CC-14:      I don’t believe it. I’m going to look into it now.

       CC-3:       Yes, the people in Cortes told me that those guys had worked with               .
                   The police from Cortes called me and told me.

       CC-14:      I’ll look into it now.

        These chats are admissible to show the existence of the charged conspiracy involving the
defendant, CC-3, and CC-14; the close relationship between the defendant and CC-3; the fact that
the defendant and his co-conspirators were receiving non-public information from law
enforcement; and to corroborate witnesses who are expected to testify about the defendant’s acts
of violence and use of armed bodyguards in furtherance of his drug-trafficking activities. These
chats are also admissible under the hearsay rules as co-conspirator statements pursuant to Rule
801(d)(2)(E). (Gov’t MILs at 21-22). As detailed above and in the Government’s other motions
in limine, the Government will establish by a preponderance of the evidence that the defendant,
CC-3, and CC-14 were members of the charged drug-trafficking and weapons conspiracies. The
statements at issue were also in furtherance of that conspiracy. CC-3’s statements were designed
to assure CC-14 that he had the continued support of the defendant, to inform CC-14 of the status
of the conspiracy and the dispute with Relative-1, and to provide CC-14 with information about
the defendant’s murdered bodyguards.
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exchange, CC-15 asked how the media “know[s] about the green rifle,” referring to the green
submachinegun provided to the defendant by CC-13, a Honduran military official. CC-14
responded, “It’s in the report. That’s what the prosecutors say.”

        These chats are admissible to, among other things, show the existence of the charged
conspiracy involving the coconspirators identified in the Government’s motions in limine (“All of
them are there”); demonstrate CC-14’s knowledge of the identities of other members of the
conspiracy, including CC-7 (“Edgar”) and CC-4 (“Juancho”); show CC-14 and CC-15’s
knowledge that some of the defendant’s co-conspirators, including CC-1 and CC-7, had been
murdered (“are they bringing them back to life”); and corroborate anticipated witness testimony
about the defendant receiving a green submachinegun from CC-13. The chats are also admissible
under Rule 804(b)(3) because CC-14 and CC-15, who is also believed to be in Honduras, are
unavailable and their remarks would be probative of their guilt were they to stand trial on drug-
trafficking or weapons charges.

                                         CONCLUSION

        For the foregoing reasons, the Government respectfully submits that the Court should grant
the relief requested herein.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney


                                         by: __/s/_________________________
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cc: Defense counsel of record (by ECF)
